Case 2:05-cr-20210-SH|\/| Document 12 Filed 06/27/05 Page 1 of 2 Page|D 11

UNITED sTATEs DISTRICT coURT L W`JC
wEsTERN nIsTRICT oF TENNESSEE 8 _
Western Division 5 JUH 27 AH m~ l 7

i-'r_;;-i ." _ ila ;,~i Yi"<;`.iti£)
UNITED sTATEs 0F AMERICA CLs: l:-:_.“ :,:.s. nisi cr

W.D. O.l'~ TN. MEMPHIS
-vs- Case No. 2:05cr20210-Ma

DARRYL ROSS

 

ORDER OF DETENTION PEND|NG TR|AL
FlNDlNGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

DARRYL ROSS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. DARRYL ROSS shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
governrnent, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: June 24, 2005

 

TU M. PHAM
UNITED STA'I`ES MAGISTRATE IUDGE

This document entered on the docketsheet in compliance

, 1 f
with eula 55 and/or 32(b) Fach on Zé 23 O,g /

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:05-CR-20210 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

